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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF INDIANA
                                     Indianapolis Division

In re:

Demona Freeman,                                         Case No. 12-04713-JJG-13

            Debtor.                       Chapter 13
______________________________________________________________________________

Demona Freeman,

                Plaintiff,

         v.                                             Adversary No. 21-50006

PHH Mortgage f/k/a Ocwen Loan
Servicing, LLC, and Ocwen Financial
Corporation,

            Defendants.
______________________________________________________________________________

                   MOTION TO AMEND SCHEDULING ORDER
______________________________________________________________________________

         Pursuant to the Federal Rules of Bankruptcy Procedure Rule 9006(b) and Local Rule B-

7006-1(b), Defendants PHH Mortgage Corporation, successor by merger to Ocwen Loan

Servicing, LLC,1 and Ocwen Financial Corporation (collectively “Defendants”), hereby request

that the Court amend the scheduling order to: (1) extend all pre-trial deadlines by approximately

sixty (60) days and (2) reset the trial date, at the Court’s convenience, for a time in October of

2022. In support of the instant Motion, Defendants state as follows:




1
  Plaintiff has erroneously identified PHH Mortgage as the name of the entity and as being “f/k/a Ocwen
Loan Servicing, LLC.” However, the correct name of this entity is PHH Mortgage Corporation, which
existed prior to its merger with Ocwen Loan Servicing, LLC, therefore the “formerly known as” designation
is erroneous.


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        1.     Alongside this Adversary Proceeding, the Parties are also engaged in litigation in

the related United States District Court case styled as Demona Freeman v. Ocwen Loan Servicing,

LLC, et al, Case No. 1:18-CV-3844-TWP-DLP (S.D. Ind) (the “District Court Case”).

        2.     The trial in the District Court Case is currently scheduled for the first week of

August (i.e., the week before the trial in this Adversary Proceeding is to commence). As a result,

Defendants believe it would be impracticable to conduct both trials back-to-back. Specifically,

Defendants will need time between the trials to prepare, as there are substantive differences in the

claims, evidence, and witnesses between the two matters.

        3.     The Parties are also scheduled to engage in a settlement conference in the District

Court Case on May 24, 2022. Defendants are hopeful that both the District Court Case and this

matter can be fully resolved during that settlement conference.

        4.     There is good cause to grant this Motion and extend the pre-trial deadlines and trial

date because it will allow the Parties to focus on resolving this matter at the settlement conference

scheduled for May 24, while also providing additional time to complete discovery and any motions

practice in this matter if the matters cannot be resolved. Moreover, moving the trial date will

provide the Parties with adequate time to prepare for the two separate trials should both matters

reach trial.

        5.     This Motion is not being made for the purpose of vexation or delay, and granting

this Motion will only conserve resources of both Parties and the Court.

        6.     Defendants have conferred with counsel for Plaintiff, and Plaintiff opposes this

Motion.

        WHEREFORE, for the reasons stated above, Defendants respectfully request that the Court

grant their Motion.




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Dated: May 4, 2022                    Respectfully submitted,

                                               By: /s/ Ethan G. Ostroff
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                                               Ocwen Financial Corporation




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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 4, 2022, a true and correct copy of the foregoing Motion to

Amend Scheduling Order was filed via the Court’s CM/ECF system, which will distribute copies

to counsel of record.



                                                    By: /s/ Ethan G. Ostroff
                                                    Ethan G. Ostroff




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